Case 8:17-cv-01172-DOC-KES Document 46-2 Filed 05/25/18 Page 1 of 3 Page ID #:1920



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     11                           UNITED STATES DISTRICT COURT
     12                         CENTRAL DISTRICT OF CALIFORNIA
     13                                     SOUTHERN DIVISION
     14     Blue Spike, LLC,                               CASE NO.: 8:17-cv-1172-DOC-KES
     15                        Plaintiff,                  Hon. David O. Carter
     16     v.                                             DECLARATION OF ERIC LOES
                                                           IN SUPPORT OF VIZIO, INC.’S
     17     VIZIO, Inc.,                                   OPPOSITION TO BLUE SPIKE’S
                                                           MOTION TO COMPEL
     18                        Defendant.
                                                           DATE:            May 22, 2018
     19                                                    TIME:            10:00 a.m.
                                                           COURTROOM:       6D
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                                                           [PUBLIC REDACTED VERSION]
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                                            DECLARATION OF ERIC LOES
  1487672
Case 8:17-cv-01172-DOC-KES Document 46-2 Filed 05/25/18 Page 2 of 3 Page ID #:1921



      1                                DECLARATION OF ERIC LOES
      2              I, ERIC LOES, declare and state as follows:
      3              1.    I am Senior Director of Software Engineering at VIZIO, Inc. (“VIZIO”).
      4     The facts set forth herein are true of my own personal knowledge, and if called upon
      5     to testify thereto, I could and would competently do so under oath.
      6              2.    I understand that Blue Spike, the plaintiff in this case, is alleging that
      7     VIZIO infringes some of Blue Spike’s patents by the use of Microsoft PlayReady
      8     streaming media technology in certain VIZIO TVs and home theater displays.
      9              3.    VIZIO does not manufacture the TVs or home theater displays that it
     10     sells.
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     14              4.    I understand that Blue Spike is seeking to inspect source code relating to
     15     Microsoft PlayReady functionality in VIZIO’s TVs and home theater displays.
     16     VIZIO does not have any such source code in its possession.
     17              5.    I also understand that Blue Spike is alleging that VIZIO infringes other
     18     Blue Spike patents by the use of memory shuffling for data production in VIZIO’s
     19     Android-based remote control tablets that shipped with certain models of its TVs and
     20     home theater displays.
     21              6.    VIZIO does not manufacture these Android-based remote control tablets.
     22     Those tablets were manufactured by a third party manufacturer, Borqs Technologies,
     23     Inc.
     24              7.    I understand that Blue Spike is seeking to inspect source code relating to
     25     data protection through memory shuffling on VIZIO’s Android-based remote control
     26     tablets. VIZIO does not have any such source code in its possession.
     27     //
     28     //
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                                              DECLARATION OF ERIC LOES
  1487672
Case 8:17-cv-01172-DOC-KES Document 46-2 Filed 05/25/18 Page 3 of 3 Page ID #:1922
